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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 22-1557V



 GARY TUCKER,                                                Chief Special Master Corcoran

                         Petitioner,                         Filed: July 22, 2024
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


David John Carney, Green & Schafle LLC, Philadelphia, PA, for Petitioner.

Jamica Marie Littles, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION AWARDING DAMAGES1

        On October 19, 2022, Gary Tucker filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleged that he suffered a shoulder injury related to vaccine
administration (“SIRVA”), a defined Table injury or in the alternative a causation-in-fact
injury, after receiving an influenza (“flu”) vaccine on November 9, 2021. Petition at 1, ¶¶
4, 22-23. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

       On July 22, 2024, I issued a ruling on entitlement, finding Petitioner entitled to
compensation for his SIRVA. In this case, Respondent filed a combined Rule 4(c) Report
and Proffer on award of compensation (“Rule 4(c) Report and Proffer”) indicating
Petitioner should be awarded $65,000.00, representing compensation for pain and

1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.    Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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suffering. Rule 4(c) Report and Proffer at 5. Respondent represented that Petitioner
agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Rule 4(c) Report and Proffer.

       Pursuant to the terms stated in combined Rule 4(c) Report and Proffer,3 I award
Petitioner a lump sum payment of $65,000.00, representing compensation for pain
and suffering in the form of a check payable to Petitioner. This amount represents
compensation for all damages that would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.4

       IT IS SO ORDERED.

                                                                  s/Brian H. Corcoran
                                                                  Brian H. Corcoran
                                                                  Chief Special Master




3 Because the Rule 4(c) Report and Proffer contains detailed medical information, it will not be filed as an

attachment to this Decision.

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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